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               Exhibit 4
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Hon. William J. Cahill (Ret.)
JAMS
Two Embarcadero Center, Suite 1500
San Francisco, CA 94111
Phone: 415-774-2615
Fax: 415-982-5287
Email: sschreiber@jamsadr.com


                       JAMS REFERENCE NO. 1100107291


                                          SCHEDULING ORDER NO. 7
EDAG Engineering GmbH,

         Claimant,

             v.

BYTON North America Corporation,

       Respondent.


BYTON North America Corporation,

       Counter-Claimant

              v.

EDAG Engineering GmbH,

        Counter-Respondent.
        Case 3:21-cv-04736-EMC Document 117-5 Filed 02/06/22 Page 3 of 7




       The following Scheduling Order No. 7 is made respecting the conduct of this arbitration.
This Scheduling Order No. 6 supersedes Scheduling Order No. 1 dated February 3, 2020,
Scheduling Order No. 2 dated April 8, 2020, Scheduling Oder No. 3 dated June 26, 2020,
Scheduling Order No. 4 dated September 28, 2020, Scheduling Order No. 5 dated October 14,
2020, and Scheduling Order No. 6 dated October 30, 2020.

   1. Parties and Counsel. The parties to this arbitration are identified in the caption and are
      represented as follows:

 Evangeline Burbidge, Esq.                          Keith A. Sipprelle, Esq.
 Marc R. Lewis, Esq.                                David B. Van Etten, Esq.
 Brad Estes, Esq.                                   Van Etten Sipprelle LLP
 Lewis & Llewellyn                                  2945 Townsgate Rd.
 505 Montgomery St.                                 Suite 200
 Suite 1300                                         Westlake Village, CA 91361
 San Francisco, CA 94111                            805-719-4900
 415-800-0590
                                                    Counsel for Respondent and Counter-
 Counsel for Claimant and                           Claimant BYTON North America
 Counter-Respondent                                 Corporation
 EDAG Engineering GmbH
                                                    Lillian Xu, Esq.
                                                    Evelyn Shimazaki, Esq.
                                                    BYTON North America Corporation
                                                    4201 Burton Dr.
                                                    Santa Clara, CA 95054

   2.    Arbitrator. The arbitrator in this matter is:

        Hon. William Cahill (Ret.)
        JAMS
        Two Embarcadero Center
        Suite 1500
        San Francisco, CA 94111

   3.   Arbitrator’s Staff:

        (a)      JAMS Case Manager:

                 Scott Schreiber
                 JAMS
                 Two Embarcadero Center, Suite 1500
                 San Francisco, CA 94111
                 Tel: 415-774-2615
                 Email: sschreiber@jamsadr.com
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   (b)    The Arbitrator works with a staff attorney, Jayli Miller. The Arbitrator’s case
   manager will provide Ms. Miller’s resume to the parties upon request.

4. Agreement to Arbitrate. The Technology Development and License Agreement
   (“Agreement”), which is at issue in this arbitration, provides in paragraph 14.4b that any
   dispute between the parties shall be submitted to JAMS, Inc. for confidential, final and
   binding arbitration under and in accordance with its JAMS Comprehensive Arbitration
   Rules. Pursuant to this section, the parties selected Judge Cahill as arbitrator for this
   matter.

5. Pleadings and Arbitrability. The claims in this matter are set forth in EDAG’s Demand
   for Arbitration dated October 22, 2019 and BYTON’s Cross-Claim dated November 19,
   2019. The claims are arbitrable.

6. Applicable Law and Rules. The substantive law of California and the California
   Arbitration Act together with the JAMS Comprehensive Arbitration Rules ("Rules") shall
   apply in this proceeding.

7. Motions Challenging the Parties’ Claims. Each party may, but shall not be required to,
   file a motion challenging as a matter of law the claims asserted by the opposing
   party/parties no later than June 1, 2020. The parties shall agree to a briefing schedule for
   any such motions; in the absence of agreement the Arbitrator shall set a briefing
   schedule.

8. Discovery and Exchange of Information.

   (a)    During the preliminary hearing in this matter held on January 23, 2020, the parties
   agreed to meet and confer regarding discovery deadlines and other procedural issues.

   (b)     The parties shall attempt to resolve any discovery disputes informally. Any
   discovery disputes not resolved informally between the parties may be presented, via
   short letter brief, to the Arbitrator. A hearing on the issue will be conducted telephonic,
   unless otherwise requested or ordered. The parties may agree to forgo a hearing on any
   dispute and submit on the filings.

   (c)     The parties have completed their Rule 17 disclosures.

   (d)     The parties have agreed to complete document production by July 30, 2020.

   (e)     The parties have agreed to a total of five non-expert depositions per side, unless
   the parties agree otherwise. Any deposition conducted in this arbitration shall commence
   at 9:30 a.m. and conclude at 5:30 p.m., with an hour for lunch, unless otherwise agreed to
   by the parties. The Arbitrator may resolve any disputes over the depositions as would be
   resolved in civil litigation. Non-expert depositions shall be completed by November 18,
   2020.
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   (f)     The parties have further agreed that experts shall be disclosed on or before
   November 30, 2020. Rebuttal experts shall be disclosed on or before December 4, 2020.
   Expert reports of no more than 10 pages, not including exhibits, shall be exchanged
   before December 14, 2020. Rebuttal expert reports of no more than 10 pages, not
   including exhibits, shall be exchanged before December 30, 2020. Expert depositions
   shall be completed by January 8, 2021.

   (g)     The parties shall electronically exchange exhibit lists and all documentary
   evidence they intend to offer at the hearing, including reports of any experts intended to
   be offered during the hearing, no later than February 1, 2021. Documents not so
   exchanged shall not be admitted without a showing of good cause.

   (h)      Counsel shall identify all non-rebuttal percipient and expert witnesses expected to
   testify at the hearing and shall indicate the manner in which each witness is expected to
   testify (e.g., in-person, telephonically or by affidavit or declaration), no later than
   February 1, 2021. Counsel may supplement the designation of witnesses no later than
   February 3, 2021. Witnesses not so identified shall not be permitted to testify at the
   hearing without a showing of good cause.

9. Dispositive Motions: Any party that wants to file a dispositive motion must request leave
   from the arbitrator by summarizing, in less than five pages, the undisputed material facts
   and the grounds to be asserted. Within three court days, the opposing party may file a
   letter brief of less than five pages identifying the disputed material facts. If the arbitrator
   is convinced that the facts supporting an issue subject to summary judgment may be
   undisputed, the arbitrator will issue an order permitting the filing of a summary judgment
   motion. All motions for leave for dispositive motions must be filed no later than
   December 4, 2020. All pre-hearing dispositive motions must be heard no later than 31
   days before the arbitration. The parties shall agree to a briefing schedule for any such
   motions; in the absence of agreement the Arbitrator shall set a briefing schedule.

10. Hearing Procedure

   (a)     The hearing in this matter shall be conducted on the following days: February 8-
   19, 2021 beginning at 8:30 am each day and concluding by 1:00 p.m. (PST) unless the
   parties agree or the arbitrator orders otherwise. The hearing shall be conducted remotely.

   (b)    Prehearing arbitration briefs shall be submitted to the Arbitrator no later than
   February 3, 2021 in electronic format.

   (c)     Trial exhibits shall be pre-marked with consecutive Arabic numerals (without any
   indication of the party offering same) and a joint exhibit list shall be prepared and
   delivered electronically to the Arbitrator no later than February 3, 2021. The parties shall
   indicate any objection to the introduction of any exhibit. Exhibits not objected to shall be
   deemed admitted at the commencement of the hearing unless otherwise ordered by the
   arbitrator. One set of exhibits shall be prepared for the arbitrator and one for the
   witnesses, in addition to copies for counsel. Hard copies of exhibits shall be delivered to
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           Case 3:21-cv-04736-EMC Document 117-5 Filed 02/06/22 Page 7 of 7




                                      PROOF OF SERVICE BY E-Mail

                    Re: EDAG Engineering GmbH vs. BYTON North America Corporation
                                       Reference No. 1100107291

           I, Scott Schreiber, not a party to the within action, hereby declare that on January 29, 2021, I served

the attached Scheduling Order No 7 on the parties in the within action by electronic mail at San Francisco,

CALIFORNIA, addressed as follows:


Evangeline Burbidge Esq.                                Keith A. Sipprelle Esq.
Marc R. Lewis Esq.                                      Van Etten Sipprelle LLP
Mr. Brad Estes                                          2945 Townsgate Road
Lewis & Llewellyn LLP                                   Suite 200
601 Montgomery Street                                   Westlake Village, CA 91361
Suite 2000                                              Phone: 805-719-4900
San Francisco, CA 94111                                 ksipprelle@vstriallaw.com
Phone: 415-800-0590                                        Parties Represented:
eburbidge@lewisllewellyn.com                               BYTON North America Corporation
mlewis@lewisllewellyn.com
bestes@lewisllewellyn.com
   Parties Represented:
   EDAG Engineering GmbH

Ms. Lillian Xu
Evelyn Shimazaki Esq.
BYTON North America Corporation
4201 Burton Drive
Santa Clara, CA 95054
lillian.xu@byton.com
evelyn.shimazaki@byton.com
    Parties Represented:
    BYTON North America Corporation

           I declare under penalty of perjury the foregoing to be true and correct. Executed at San Francisco,

CALIFORNIA on January 29, 2021.


//s// Scott Schreiber
_________________________________
Scott Schreiber
JAMS
sschreiber@jamsadr.com
